                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

JOSE TORRES,                                              )
            Plaintiff,                                    )
                                                          )
                  v.                                      )          C.A. No. 19-11545-WGY
                                                          )
GERALYN RILEY, et al.,                                    )
           Defendants.                                    )

                                          PROCEDURAL ORDER

         On July 15, 2019, plaintiff filed this civil action but failed to pay the filing fee or to seek a
waiver thereof.

         A party bringing a civil action must either (1) pay the $350.00 filing fee and the $50.00
administrative fee, 1 see 28 U.S.C. § 1914(a); or (2) seek leave to proceed without prepayment of the filing
fee, see 28 U.S.C. § 1915 (proceedings in forma pauperis). Where, as here, the plaintiff is a prisoner, a
motion for waiver of prepayment of the filing fee must be accompanied by “a certified copy of the trust
fund account statement (or institutional equivalent) for the prisoner for the 6-month period immediately
preceding the filing of the complaint . . . obtained from the appropriate official of each prison at which the
prisoner is or was confined.” 28 U.S.C. § 1915(a)(2). 2

         Accordingly, no later than Friday, August 9, 2019, plaintiff either shall (1) pay the $400.00
filing and administrative fees; or (2) file an application to proceed in forma pauperis accompanied by a
certified prison account statement. Failure of the plaintiff to comply with this directive may result in the
dismissal of this action.

        For the convenience of litigants, this Court provides a form application to seek leave to proceed
in forma pauperis. The Clerk shall provide plaintiff with an Application to Proceed in District Court
Without Prepaying Fees or Costs.

          The Clerk shall also send a copy of this Procedural Order to the Treasurer’s Office at the prison
facility in which plaintiff is incarcerated, in order to facilitate any request by the plaintiff for his certified
prison account statement. The Court requests that the Treasurer’s Office include in any prison account
statement the plaintiff’s average monthly deposits for the six-month period preceding the date the
complaint was filed, as well as the average monthly balance for that same period.

     SO ORDERED.
  7/19/2019                                       /s/ William G. Young
DATE                                              UNITED STATES DISTRICT JUDGE


1
 The $50.00 administrative fee became effective May 1, 2013; it does not apply to persons proceeding in
forma pauperis. See Judicial Conference Fee Schedule.
2
  Unlike other civil litigants, prisoner plaintiffs are not entitled to a complete waiver of the filing fee,
notwithstanding the grant of in forma pauperis status. Based on the information contained in the prison
account statement, the Court will direct the appropriate prison official to withdraw an initial partial
payment from the plaintiff’s account, followed by payments on a monthly basis until the entire $350.00
filing fee is paid in full. See 28 U.S.C. § 1915(b)(1)-(2). Even if the action is dismissed upon a
preliminary screening, see 28 U.S.C. §§ 1915(e)(2), 1915A, the plaintiff remains obligated to pay the
filing fee, see McGore v. Wrigglesworth, 114 F.3d 601, 607 (6th Cir. 1997) (§ 1915(b)(1) compels the
payment of the fee at the moment the complaint is filed).
